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                                                                       1     JEREMY V. RICHARDS (CA SBN 102300)
                                                                             GAIL S. GREENWOOD (CA SBN 169939)
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                                                                       5              ggreenwood@pszjlaw.com

                                                                       6     Attorneys for Official Committee of Unsecured Creditors
                                                                             of Liberty Asset Management Corporation
                                                                       7

                                                                       8                                      UNITED STATES BANKRUPTCY COURT

                                                                       9                                       CENTRAL DISTRICT OF CALIFORNIA

                                                                      10                                              LOS ANGELES DIVISION

                                                                      11     In re:                                                Case No.: 2:16-bk-13575-TD
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12     LIBERTY ASSET MANAGEMENT                              Chapter 11
                                                                             CORPORATION, a California corporation,
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                                                           Adv. No. 2:16-ap-01337-TD
                                            ATTOR NE YS A T LAW




                                                                                                         Debtor and
                                                                      14                                 Debtor in Possession.     DECLARATION OF SHAO FANG HUANG
                                                                                                                                   IN SUPPORT OF THE COMMITTEE’S
                                                                      15                                                           MOTION FOR SUMMARY
                                                                                                                                   ADJUDICATION OF DEFENDANTS’
                                                                      16                                                           LIABILITY FOR BREACH OF
                                                                                                                                   FIDUCIARY DUTIES AND ACCOUNTING
                                                                      17

                                                                      18                                                           Date: December 15, 2016
                                                                             OFFICIAL UNSECURED CREDITORS                          Time: 11:00 a.m.
                                                                      19     COMMITTEE FOR LIBERTY ASSET                           Place: Courtroom 1345
                                                                             MANAGEMENT CORPORATION,                                      255 E. Temple Street
                                                                      20                                                                  Los Angeles, CA 90012
                                                                                                         Plaintiff                 Judge Thomas B. Donovan
                                                                      21
                                                                                           vs.
                                                                      22
                                                                             LUCY GAO, an individual, and BENJAMIN
                                                                      23     KIRK, an individual,
                                                                      24                                 Defendants
                                                                      25

                                                                      26              I, Shao Fang Huang, declare as follows:

                                                                      27              1.       I am the Manager of Lee Walgreens 2013 LLC (“Lee Walgreens”), an entity that

                                                                      28     entrusted $3 million to the Debtor for investment. I submit this declaration in support of the Motion


                                                                             DOCS_SF:92041.1 52593/002                                                                  001
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                                                                       1     for Summary Adjudication of Defendants’ Liability for Breach of Fiduciary Duty and Accounting

                                                                       2     (the “Motion”) filed concurrently by the Committee. 1 Except as otherwise noted, I have personal

                                                                       3     knowledge of the matters set forth herein.

                                                                       4                2.       Attached hereto as Exhibit A is a true and correct copy of the investment agreement

                                                                       5     between Lee Walgreens and the Debtor, entitled Disclosure Acknowledgement and Commitment to

                                                                       6     Purchase and Sell Real Estate Assets Agreement and dated March 23, 2013 (the “Investment

                                                                       7     Contract”). Pursuant to the Investment Contract, the Debtor was obligated to attempt to purchase

                                                                       8     real estate located at 3931 Alemany Boulevard in San Francisco (the “Target Property”) upon receipt

                                                                       9     of Lee Walgreens’ deposit.

                                                                      10                3.       Attached hereto as Exhibit B is a true and correct copy of the escrow wiring

                                                                      11     instructions and the bank’s wire confirmation reflecting Lee Walgreens’ deposit of $3 million2 (the
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                      12     “Lee Walgreens Deposit”) with Sincere Escrow on March 26, 2013.
                                         LOS ANGELES, C ALIFO R NIA




                                                                      13                4.       Attached hereto as Exhibit C is a true and correct copy of the first amendment of the
                                            ATTOR NE YS A T LAW




                                                                      14     Investment Contract between Lee Walgreens and the Debtor, entitled Addendum to Disclosure

                                                                      15     Acknowledgement and Commitment to Purchase and Sell Real Estate Assets Agreement and dated

                                                                      16     September 9, 2013 (the “First Amended Investment Contract”). Pursuant to the First Amended

                                                                      17     Investment Contract, the closing date for the purchase of the Target Property was extended to June

                                                                      18     26, 2014.

                                                                      19                5.       Attached hereto as Exhibit D is a true and correct copy of the second amendment of

                                                                      20     the Investment Contract between Lee Walgreens and the Debtor, entitled Addendum to Disclosure

                                                                      21     Acknowledgement and Commitment to Purchase and Sell Real Estate Assets Agreement and dated

                                                                      22     September 9, 2014 (the “Second Amended Investment Contract”). Pursuant to the Second Amended

                                                                      23     Investment Contract, the closing date for the purchase of the Target Property was further extended to

                                                                      24     June 26, 2015.

                                                                      25                6.       Attached hereto as Exhibit E is a true and correct copy of the cancellation of the

                                                                      26     Investment Contract between Lee Walgreens and the Debtor, entitled Cancellation of Disclosure

                                                                      27
                                                                             1
                                                                      28         Undefined capitalized terms contained in this declaration have the meaning ascribed to them in the Motion.
                                                                             2
                                                                                 The bank account numbers are partially redacted.

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                 Ack:nowlcdgt::ment and Commitment to Purchase and Sell Real Estate Assets Agreement and dated

           2     March 26, 2015 (the '·Canceled Investment Contract"). Pursuant to the Canceled Investment

           '
           .:l   Conll-at:t, the Debtor shaH fully refund the Lee Walgreens Deposit on or before May 31, 2015.

           4               7.        To date, the Debtor did not purchase the Target Propeny, nor has it refunded the Lee

           5     Walgreens Deposit.

           6               I decJare under penally of perjury w1der the laws ofthe Uniled States of America that the
                                                                       ~-r
           7     toregoing is true and corrt.-ct. Executed this   .M. day of October, 2016 at Los Angeles, California.
           8

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,.,




                         Exhibit "A"

                                                                                  004
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                   LIBERTY ASSET MANAGEMENT CORPORATION



                       DISCLOSURE ACKNOWLEDGMENT AND COMMITMENT TO PURCHASE AND SELL
                                      REAL ESTATE ASSETS AGREEMENT




                                                        Between



                              Liberty Asset Management Corporation
                                             \LAMC')



                                                            and



                                         Lee Walgreens 2013 LLC
                                                     .("Inv~~wr.>




                                                    Effective
                                                 Match 23. 2013




     Propr1etary and Confidential    Investor's initials """'"71'-""l~ LAMC's lnltlals,~'\f'IO--   Page 1 of8




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                         LIBERTY ASSET MANAGEMENT CORPORATION
                              DISCLOSUREJ'CKNOWLEDGMENT AND COMMITMENT TO PURCHASE AND SELL
                                                        REAL ESTATE ASSETS AGREEMENT
      This Disclosure Acknowledgment and Commitment to Purchase and Sell Real Estate Assets Agreement ("Agreement") Is
      exec:ut:ed on tltls ~day of~ 20.U by and between uoert.y Asset Management Corpo111t1on and lis respective
      parent or subsidiary companies and afi'lllates, ("I.AMC'), a California Corporation whose principal place of business Is
      located at 3218 E. Holt Avenue #101, West Covlnll, CA 91791, and tel Wa!grm:m; 2013 LLC ("Investor") whose name,
      phone number and address are listed below.




      PURPOSE
     Tbfs Agreement sets out the terms and conditions on wtllth:

             1.     LAMC will purchase on behalf of Investor and then sell to Inveslnr the real property and/or nan-performfng notes
                    for real property as described In Schedule 1 (herelnafu!r relen'ed m as •ReaJ Esl:ate Asset$" or "Real Estate Assetw
                    either colledfvely or Individually as lndlcllted by the context}; and
             2.     Investor will pun:hase from LAMC the Real EstatJ3 Asset& as described In Schedule 1 that LAMC purdlased on
                    Investor's behalf.

     WH~

             1.     LAMC Is a legally established and duly orgenlzed callfomla Corporation and undertalces to purchase Real estate
                    Assets as described In Schedule 1 on behalf of Investor.
             2.     Investor Is a legally established and duly orvant%811 Olllfornla [I.e!! WIIQI'JM!IIS 2013 I.LC], desirous of purchasing
                    from LAMC the Real estate Assets as described In Schedule 1 subject to applicable laws as may be amended from
                    time to time and conditions herelnaltier provided.                                                                .
             3.     LAMC and Owner hereto are entering Into this Agreement to set out the terms by which I.AMC wiD pun::hase on
                    behalf of Investor and sell to Investor the Real Esl:abt Assets as descltbed In Sdleclule 1 and Investor will
                    purchase from LAMC the Real Estate Assets described In Schedule 1 that LAMC purchased on Investor's behalf.

     NOW THEREFORE, the parties hereto hereby agree as follows:
        1,        INVESTOR'S ACKNOWLEDGMENTS
                  1.1    Investor hereby acknowledges and understands they are solely responsible for completing their own
                         Independent lnvestlgatton and/or Inspection of the Real Estate Assets described In Schedule 1.
                  1.2   Investor acknowledges and understands the terms of the 5ale and Purdt&se Agreement of the 'Real fslate
                        Assets; Inwstor·has, w-Its sallsfaC!tion·had·a fUll opportunity ~make-a fully-InfOrmed decision;

                  1.3   Investor recogni%E!S and eadcnowledges that the contnsctual obligation to purchase the Real Estate Assets
                        contained In Schedule 1 whld! Is the subject of this Agreement Is ao:ompanied by an obligatiOn II) ea;ept the
                        terms and condition or the Sale and Pun:hase Agreement of the Real &tate Assets without material
                        modification.

                  1.4   INVESTOR ACKNOWLEDGES THAT IT HAS BEEN ADV1S1!D THAT EXECUTION OF THJS AGREEMENT
                        BINDS INVI!STOR TO CERTAIN COfll'RACI'UAL OBUGATION5,JNCLUDING THE PURCHASE Of THE
                        REAL ESTATE ASSETS C:ONTAINED IN SCHEDULE 1 AND TO THE I!XECUTION OP THE SALE AND
                        PURCHASE AGREEMENT, A COPY OF WH!af WAS PROVIDED TO INVESTOR. INVESTOR HAS HAD
                        FULL OPPORTUNITY TO CONSULT WITH LEGAL COUNSEL AND OTHIR PROFIISSIONALS FOR
                        ADVICE AND CONSULTATION ON ALL THE !MPUCATIONS, RISKS, REWARDS AND OBUGATIONS
                        AND COMMITMI!N'IS INHERENT !N ANY AND ALL OF THE SAME.

                        Invesmr'slnltlals          cJl /j
                  1.5   INVESTOR FURTHER ACKNOWLEDGES, AGREES AND APPIRMS THAT EXICUTION OF THIS
                        AGREEMENT IS, IN FAcr, A KNOWING AND INFORMED ACT OP THE INVESTOR AND THI
                        INVESTOR HAS EXERC:ISEO INDEPENDENT JUDGMJ!NT, HAS BEEN SUPPUED ALL DATA,
                        INFORMA1ION, AND MATERIALS REQUESTED Of LAMC THAT LAMC HAS AVAILABLE AND HAS
                        CONCLUDED BY INDI!PENDINT ANALYSIS, :tNVI!mGATION AND INQUIRY TO PROCEED WITH
                        THE PURCHASJ! OF TH~ ESTATE ASSETS CONTAJNED IN SCHEDULE 1.

                        Investor's lnltials!..-_s&.f1.x.:~~..---


     Proprietary and Confidential                                               LAMC's Initials..__~~-              Page 2 of'S




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           1.6    Investor acknowledges an understanding of the risks Involved In partldpatlng In real estate ownership and
                  that the Investor Is an exyJerienc:ed purchaser or owner of real estate or Is being advised In such matters by
                  thin:l-party Independent professionals having expertiSe and knowledge regarding real estate.

                  1.6.1     Risks may Include bUt are not limited to the foUowlng: foredosure may be necessary; the Real
                            EstiJta Assets csnnot be Inspected on the lntr!rlor; the physical amdltlon and{or the state of repairs
                            needed Q!lnnot be detemllned; there may be Illegal additions whk:tl may not be to dty or
                            governmental code; there may be undisclosed environmental conditions; there may be occupants
                            that need to be evicted.
           1.7    Investor acknoWledges that returns are subject to change due to loan terms, new discovery, occupancy,
                  additional cap!talimrestment, owner decisions, and various fae!Drs Involved In property management.

           1.8    Investor further acknowledges that LAMC has disclosed to the Investor that the actual purchllse and
                  acquisition of the Real Estate Assets contained In Sd!edule 1 win depend on factors Independent of the
                  Investor's Involvement, tD lndude the commitment of sufficient additional co-pun:l'lasers/co-owners to
                  provide the requisite portion of the overan purchase prlt:e needed beyond the mortgage loan finlllldng that Is
                  also required before the acquisition and purchase can be completed.
           1.9    Investor acknowledges the~t I.AMC has agreed to exerase good l'alth efforts to obtain the requisite
                  commitments by c:o-purchasei'S/co·owners and also to obtain the requisite mortgage flnandng but also
                  adcnowledgas and agrees thai; there has not been any guaranty or assurance by LAMC that the same can be
                  accomplished on a schedule nec:essary to prooeed to the closing and purchase of the Real Estate Assets
                  contained In Schedule 1.

           1.10   THE lNVESfORACKNOWLEDGES TttAT LAMC IS NOT THE CURRENT OWNER OF THE REAL ISI'ATE
                  ASSETS COHTAINED IN SCH&DUU! 11WT HAS THE SAME UNDER PURCHASE CONTRACTwrrH I1'S
                  IU8tmil AS PURCHASER THEREUNDER FREELY ASSIGNABLE TO THE INVESTOR AND TME OTHER
                  CO.PURCHASERS/Q>OWNERS WHO WIU. BE INVOLVED IN THE PURCHASE.

                  lnvestor'etnltlala           l:1f
           1.11   Investor admowledgas that I.AMC has Informed the Investor that while LAMC will endeavor, In good faith, to
                  ceuse the cfoslng end purchase of the Real t:st.al3e Assets c:onlalned In Schedule 1 In order to meet Investor's
                  deadlines that have been disclosed by Investor, In writing, to LAMC, I.AMC cennot end does not guaranty,
                  waiT8nt or otherWise eommlt to actually meet such deadlines end the Investor fuly agrees and
                  acknowledges that the risk of not meeting such deadlines shall be fully and completely the responsibility of
                  Investor wlttlout recourse to LAMC.
           1.12   Investor acknowledges that Investor shall pay all recording costs, property taxes and Natural Hazard
                  Disclosures. Investor shall pay all documentary or other transfer taxes appDc:able to the sale. Investor shall
                  pay for the premium for the Title Polley (to the extent It does not exceed the cost of a CI.TA policy). Investor
                  shall pay the premium for the Title Polk:y tD the exterit not required to be paid by LAMC. Investor shall pay
                  all charges of the esaow for the sale.

           1.13   Investor acknowledges that Investor shell pay all legal and admlnlstratfve expenses relating to non•
                  J)tliformlng notes, friiedosuiv, and propertY malnlinance lndUi:ltng, Dlit riot limited to, dellnqiieilt taxes;
                  liens:, attorneys' lees, tJUstee lees, note servidng fees, lllOftpge services, evlc:tlon tees, property Insurance/
                  property management fees, property rep;\llrs, property maintenance and service fees, and other foreclosure,
                  legal, and administrative fees.

           1.14 AUDtQBJZADON TO REU!ASE pqtpW FUNDS
                THE INVESTOR HERI!BY ACKNOWLEDGES AND AUTHORIZeS Sim:em f¥:rDw Sarvlq!s ("ESCROW
                ClOMPANY") TO RELEASt! FUNDS HILD IN escROW IN THE AMOUNT OF $1.9QPJHIO·OP TO LAMC
                                                                                                                                               I
                IN ORDER TO CAUSE THE a.osiNG AND PURCHASI! OF THE REAL ESTATI! ASSETS CONTAJNI!D 1N
                SCHIDUU! 1. LAMC MAY PROVIDE A COPY' OF THIS AGREEMENT TO THE ESCROW COMPANY AS
                I!VIDENCE OF SUCH AUTHORIZATION•. THE INVESTOR FURTHER ACKNOWLEDGES AND AGReES
                TO HOLD LAMC HARMLESS FOR THE RILI!ASE OF ESCROW FUNDS AUTHORIZED HERUY.                                                       I

                  Investor's initials           h                                                                                              l
                                                                                                                                               i
      2.   RI!PRES!NTATIONS, WARRANTIES. AND COMMITMENTS
                                                                                                                                               l
           2.1    Each party to this Agreement makes the folloWing representations, warranties and commitmentS to the other
                  party:                                                                                                                       !
                                                                                                                                               J.-
                  2.1.1    It has full rights and authorization, lndudlng but not limited to approvals, consents or licenses from
                           relevant governmental departments, as well as the internal authorlmtlons of the company to enter
                           Into this Agreement and has taken all necessary action (corporate, statutory, contractual or
                                                                                           or
                           otherwise) to authorize executiOn, delivery and performance this Agreement In accordance with
                            Its terms; and
                                                                                                                                               1
    Proprietary and Confidenl1al        Investor's Initials --rrr-"'-1-- LAMe's lnlt!als..._-+>~,_-          Page 3 ofB
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                    2.1.2    This Agreement shall become binding and enforceable after It comes into effect: by the means
                             stipulated ln this Agreement.
                    2.1.3    By execution hereof, and In connection with thia Agreement, LAMC and Investor are committing
                             and agreeing to enter Into the forml!ll Sale and Purchase Agreement of the Real &tate Assets
                             contained In Schedule 1.
                    2.1.4    By exec::ul1on hereof, and In connection with this Agreement, LAMC and Investor are committing
                             and agreeing to enter Into the Real Property Management Agreement for the Real Estate Assets
                             contained In Schedule 1.                                                      ·

            2.2     Investor makes the following additional representations, warranties and commitments to LAMC:
                    2.2.1   Jt Is committing and agreeing to purchase the Real estate Assets contained in Sdledule 1 which
                            LAMC purdlased on Its behalf, from LAMC; and

                  2.2.2     It Is commlttlng and agreeing to purchase the Real Estate Assets contained In Schedule 1 for
                            approximately $5.900.000.QQ.

                  2.2.3     Jt is authoriZing the release of fUnds held In escrow to LAMC solely for the purpose of purchasing
                            the Real Estate Assets contained In Sdledule 1.                                                   ·


            2.3   LAMC makes the following additional represenmtlons, warranties and comm!tmentsto Owner:

                  2.3.1     lt has dlsd05ed or will disclose to Investor any and all information it has regarding the Real Estate
                            Assets contained In Schedule 1 that could affect the value of any one or more of the Individual
                            assets contained In Schedule 1.

                  2.3.2     It shall timely deliver all additional Information requested by the Investor and agreed to by LAMC,
                            to the locatiOn named by Investor In ltlls Agreement.
                  2.3.3     It Is c:omnilt:tlng and agreeing to sell the Real Est:alla Assets contained In Schedule 1 to Investor for
                            approximately $5.9QO.OOO.OO; and
                  2.3.4     To the best of Its knowledge after a reasonable Investigation It Is unaware of any pending or
                            threatened litigation against LAMC or the Real Estate Assets contained In SChedule 1 which might
                            adversely affect any one or more of the Real Estate Assets contained In Sdledule 1 or LAMC'$
                            ab!Uty to convey the same.

       3,   SCOPE

            3.1   for the consldetation and on the terms and ccndltlons contained herein LAMC agrees to purchase on behalf
                  of Investor the Real Estate Assets contained In Schedule 1 and In tum sell the Real Estate Assets contained
                  In Schedule 1 to Investor.
            3:2   For tfie· toilsidenitibn antf on the terms Bnd 'ci:lndltliln!i' Contained herem IiweStOr agrees that onte L'AMC flas' ·
                  purchased the Real Estate Assets contl!llned In Schedule 1, Investor will purdlase ltle Real Estate Assets
                  contained In Sdledule 1 from LAMC purstJant to the terms and conditions stated In the Purchase and Sale
                  Agreement.

            3.3   This Agreement Is without prejudice w any other terms Issued tx1 the Investor by LAMC or agreements
                  enbi!red Into between the Investor and LAMC which may relate to an Individual asset contained In the
                  Investor's portfolio of real estate llSSEIIs Including, without Rmltatlon, any master agreements relating to the
                  purchase or sale of a real estate asset. If any provision In this Ag~t conflicts with a provl&lon of any
                                                                                                                                                    I
                  other agreement the latter provision shall prevaR Insofar as It does not conflict with any of LAMe's duties or
                  obligations under this Agreement or other relevant law.
                                                                                                                                                    I
       4.   CONDMONS Of' SALE BY LAMC AND PURCHASE BY JNVI!STOR

            4,1   LAMC has reserved the right to Invite two or more bidders to complete their own Independent Investigation
                  and/or lnsped:lon of the Real Estate Assets described In Schedule 1 {"Due ODillflnce") and to submit non-
                                                                                                                                                    I
                                                                                                                                                    j
                  contingent offers on ltle Real Estate Assets contained In Schedule-1 ("Finl!ll Bid").
                                                                                                                                                    !f
                  Investor's Final Bid Is due by 4:00 p.m. Pacific Time on [M!KJib 24. 20111· Investor's failure to
            4.2
                  submit a Umely Flna~ Bid will be construed as a termination of this Agreement.                                                    I1-
            4.3   The Indicative Bid shall mean the price Investor has offered, prior to Due Diligence, to pay for the Reel                         j
                  Estate Assets contained In Schedule 1, expressed as a percentage of the sum of 1!111 seller values of the Real
                  Estate A9sets contained In Schedule 1 priOr to the dosing date, and subject ID modification as permitted
                  herein upon the satisfactory completion of Due Dlflgenc:e. The IndlCBtlve Bid Is i5.900.QOP.OO.


     Proprietary and Confidential       Investor's Initials --1Ef-='+-                                          Page4of8




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                     4.3.1    If the Investor's Final Bid falls below the Indicative Bid, LAMC Is not obligated to accept the Final
                              Bid, the amount of any other bid rac:elved notwithstanding.
            4.4      In the event LAMC's Internal price benchmarks are not met, LAMC may withdraw any or all of the Real estate
                     Assets contained In Schedule 1 and shall have no obligation to reimburse Investor's expenses.
            4.5      Investor shall have the right to l1lfed: any Real Estate Asset contained In Schedule 1 whose charaeterlstlc:s
                     devlatl! materially frool the Information that has been provided to Investor by I.AMC.

                     4.5.1    lf Investor chOOSl!$ to l'f3ect any Real Estate Asset contained In Schedule 1: (a) LAMC shall have
                              the right to ~ec:t or re-prk:e the olfer In Its entirety and (b) I.AMC slu.lll have the right to remove
                              the rejectlld Real Estate Asset and replac:e It with another real property or non· performing note for
                              real property of substantiallY the Slime or similar charllc:terlstlcs subject to Investor's approval.
            4.6      IAMC shall have the right to remove a Real Estatt! Asset ftom Schedule 1 without replacement at any time
                     up to the delivery of funds ft'om Investor to LAMC and the commenc:ement of I.AMC's obligation to transfer
                     ownen;hlp of the Real Estate Asset rCiosing Date") due to asset disposition through other methods or for
                     reasons related to title defect, litigation, Invalid foreclosure sale or bankruptey.
            4.7     The parties' respec:t!ve obligations to consummate the transaction contemplated herein shill be subject to,
                    and conditioned upon, the following:
                    4.7.1     Invc=stor llfllng S8tlsfied, ln Its sole and absolute discretion, with Investor's Due Diligence;
                    4.7.2.    The exewtlon of the formal Purcflase and Sale Agreement:
                    4. 7.3    Delivery of Escrow Tax Pro-ration Accounting;
                    4,7 .4    The delivery by Investor to LAMC of setlsfactory evtdenc:e of compliance with all applicable federal
                              and state laws necessary to conduct business and to acquire the Real Estate Assets contained In
                              Schedule 1 by means of' tl'le transaction contemplated herein;
                    4.7.5     Upon award of the Real E'state Assets contBined In Schedule 1 to I.AMC, and no later than J!lll:Gil
                              21. 20Q], lnvastor shall pay to LAMC the flrat deposit In the amount or g.gPA,ooo.go:
                              and will obtain the mortgage In the amount of O.IJOO.QOO.QQ.
                    4.7.6     I.AMC shall Inform Investor of the deposit amount no later than one bUsiness diJY In advanc:e of the
                              date It Is due;
                    4.7.7     If Investor fails to consummate the purchase contemplated herein, and LAMC IS In complfanc:e with
                              the terms of this Agreement and the PUKhase and Sale Agreement, I.AMC shall be entitled to retain
                              the deposit; and
                    4.7.8       Qoslng &ball oc:c:Qr on or before [.June a&. 2.0131, or such other date mutually accepteble to
                                Investor and LAMC with the balance of the purchase price to be umdered m LAMC by bank wire no
                   " ..   .. .. l~r.tllan the .m.utua~y~.u~~~n da~ •..
       5.   CONFIDENTIALnY

            5.1     LAMC and Investor agree that alllnfoi'JlUitlon and recommendations provided to the other shall be treated as
                    confidential ("Conftdl!fltlal Info~matlon").
            5.2.    IAMC and Investor agree that no Confidential Information wiD be disclosed without prior consent of the other
                    party unless:
                    5.2.1     Required by law, Court Order or agency directive, or
                    5.2.2     Unless LAMC or IIM!Stor expects, In Its reasonable opinion, that I.AMC cr Investor will be compelled
                              by a court or aovernment agaru;:y, to make such dlsdosure or unless such Confidential Information
                              becomes publldy avaDable or known other than as a result of actions or I.AMC or Investor. In the
                              event IAMC Is compelled to disclose confidential Information by legal process, LAMC or Investor will
                              use Its best efforts to give written notice to Investor or LAMC prior to such disclosure.
            5.2     The provisions of Section 5 shall survive termination or expiration of' this Agreement.

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     Proprietary and Confidential         Investor's initials --41'--"-t'-- lAMC:'s lnitlals.--"OO'i!IIFir--     PageS of8




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        6.   PORCE MAlEUU

             6.1    If either LAMC or Investor taUs tl:l perform In whole or In part Its duties under this Agreement due to an
                    event of force majeure, the performance of such duties shell be suspended during the period of such event
                    of force majeure.

             6.2    The party affected by an event or fort:e majeUre shall not be In breach of this Agreement If there Is ilmy loss
                    or damage. and shall not be liable or responsible for any loss or damage Incurred by the other party as e
                    result of any total or partial failure, Interruption or delay in performance of Its duties and obligations
                    occasioned by en event of force majeure.
             6.3    A party that claims that it has been affecbed by an event of force majeure shall notify the other party of such
                    event of force majeure In wrftlng In the shortest period poaible, and shell provide approprlata evidence of
                    the existence and perlocl of the event of force majeure to the other party within fifteen (15) calender days
                    after Its occurrence. A party that claims that the performance of this Agreement Is objec:tiVely impossible
                    and lmpredk:a.l due to such event of force majeUre shall take any reasonable measures to lessen the losses
                    caused by such event of force majeure.       ·

             6.4    When the event: of force majeure occurs, the parties shall consult with each other regarding the performance
                    of this Agreement. Once the event of force majeure or its effects ceases, both parties shall Immediately
                    resume the performance of their respective obligations.
             6.5    An event of force majeure refers tD any drcumstances that cannot be reasonably controlled, predicted,
                    avoided or overcome, and occurs after execution of this Agreement. which make the performance of this
                    Agreement In whole or In part Impossible or Impracticable as a matter fact, lndu<llng but not llmiMd to any
                    sltllatlon where performal"'a!! Is Impossible without unreasonable expendltU!t!. Such circumstances lndude
                    but are not limited to floods, fires, droughts, typhoons, earthquakes, and other acts of God, trafflc aa:ldents,
                    sb1kes, riots, bJrmoll and wars (declared or not) and any act or omission of a govem!J'lflntalllutftorit:y
                    beyond the control of either party.

       7.    TERMINAllON

             7.1    I.AMC has the r1ght to terminate this Agreement at any ~me If It has reason tD believe that the conditio!~$
                    spedfled In this Agreement are not complied with by written notice of termination to the Investor.

             7.2    Investor has the right to terminate this Agreement 111: any time If in the course of Its Due Diligence, Inveswr
                    dlstOVers that the actual 5I:Btus of the Real Estlll!t Assets contained In Schedule 1 Is materially dltrerent from
                    the lnformallon previously provided by LAMC to Investor or Investor Is otherwise dissatisfied with Its Due
                    Diligence by giVIng wrttten notice to LAMC.

             7.3    Upon termination of this Agreement by LAMC or Owner, neither LAMC nor Investor shall have any fUrther
                    obligations to consummate the transaction contemplated herein.

       8.    ASSIGNMENT

             8.1    This Agreement Is not assignable unless all parties agree In wrlling.
   · ' · 9. . NOi'f..WAIV'ER
             9.1    Failure of either party to object; to or take other don with respect to any conduct of the other party that
                    may be a breach of this Agreement shan be deemed a waiver of any breach or of any future breach of
                    wrongful conduct.

       10, SEPARABILI1Y
                                                                                                                                                         Il
             10.1   If any provision of this Agreement or Its application to any person or entity or circumstance Is found   to be
                    Invalid or unenforceable, the ramalnder of this Agreement or Its application to other persons or
                    drcumstanc;es sllall not be ail'ected and shall remain In full forc:a and effllct.
                                                                                                                                                         I
       11, ENTIU AGREEMENT

             11.1   This Agreement contains the entire understanding of the pllrtles. Any oral understandings are Incorporated
                    and merged In this Agreement. No rep!'I!Senl:l\ltlons wen~ mede or rdled upon by either party except for as
                                                                                                                                                      Il
                    et forth. Thls Agreement may not be changed unless all parties agree to the chenge In writing.
       12. NOTICES

             12.1   Any and all notices, deslgnallons, consents, offers, acceptances, or any other comrnunlcations provided
                                                                                                                                                     I
                                                                                                                                                     It--
                    herein shall be given In writing and shall be deemed to have been duly given, If:


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     Proprfemry and Conflden~l            Investor's Initials -e~t- LAMC's lnltlals._ _;T--                     Page6of8
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                  12.1.1      Delivered petSOI!aily;

                  12.1.2      Trw~smitted by prepaid facsimile, telegram or telelC, If confirmed within twenty-four (24) hour
                              thl!l"eiifter by a signed orlgin!ll;
                  12.1.3      Sent by a natfOnally recognized express courier service, postage or delivery cl'larges prepaid,
                             then such Items shall be presumed delivered within one {1) business day thereafter; or

                  12.1.4     Sent by certified mall, return receipt n~quested.

           12.2   Notices shall be sent to the following addresses
                  12.2.1     t:A.MC
                             Attn: Vanessa Lavendera
                             3218 E. Holt Avenue #101
                             West Covina, CA 91791
                             Phone Number: (626) 214-2154
                             Fax: {626} 214-2143

                  12.2.2     INVESTOR: Lee Walgreens 2013 U.C
                             Address: 1906 B camino Real, Menlo Park, CA 94025
                             Phone Number:

      13. GOVERNING LAW




                                                                        I!We$1:or
                                                                        Lee Walgreens 2013 U.C




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    Proprietary and Confidential       Investor's ln!t:lals --4iil-+-                                      Page7of8
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                                                    SCHEDULE 1
                                               REAL ESTATE ASSETS

                                                          REAL PROPI!RTY

      Addreu                                       Cltv                State    ZID       Aeaulsltfon Value
                                                        San
              3931 Alemany Blvd
                                                     Francisco
                                                                           CA   94132 $5,900,000.00
                   (Waloreens)




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                          Exhibit "B"
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                     Sincere Escrow
                      935 S. San Gabriel Blvd.
                      San Gabriel, CA 91776
                    . Tel: (626) 286~1880
                      Fax: (626) 286-2983




    Please find below Wiring Instructions for Escrow No. 013665-MC



    All funds wired should be directed to:

    Bank \                                    Citizens Business Bank

    Address                                   701 North Haven

    City/State                                Ontario, CA 91764

    ABA                                       122234149

    Credit to                                 SINCERE ESCROW

    Account No.                              ·[-1111991

    Reference                                 Margaret Chiu, Escrow Officer .
                                              Escrow No. 013665-MC

    If you have any questions regarding this matter, please do not hesitate to contact this office.




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       09 SEPT 2(H 5

       ANSON WELL iNTERNATIONAL lJ!v,UTE]).                                    H$BC ·Private.Sank
                                                                               t~ !:lc.'id ~~        .
       4/F HODY COMlv.tER.ClAL BUILDING                                        f. 0\n!eii'S Roac:f ~
        6-6A.H ART AVENUE                                                       Hof''(l _~ ·

        TSIMSHATSU:l KOWLOON                                                   ":iel.ss:z~ 1!)71
        HONGKONG            .                                                  l';rx ·~l!286aOOSO


        D~Sir~

        R~: AIC No[           ]] ·()002 of ANSON WELL INTERNATIONAL Ll.'V.iiTED
           Oll{:Wald Paymen.t  for
                                tJSD3,000,QGtlOO value on 26 Mar 2013

        As~ your request of02 sept 20tS. we would like to wnfum the details of sUbject
        paymentas follows:
                Pa)'mentluno~                  ; USD3,000>000.00··
                Value date                     :26Mar20l3
                Beneficiary Bank Name          ; C~Bushte$$ B,anlc
                                                701 North Haven. OnW.riQ~ GA 91164
                                                 Bank Rciut41g No : 122234lii9
                BeneficiatY Name               : Sincere Escrow·
                Beneficiary Ac:_cpunt NQ       ~-1991        . .
                i?a)tment Details              : Margaret Chiu~ Escrow officer
                                                Escrow No: Oi366S•MC
                                                Propt.11y pur<:based by '"Lee Walgreen$
                                              . 201~LLC'l..oeation.:3931 Ale:manyBlvd
                                                S.F.CA 94132.

        Please be advisedtha~ the inf(,)rmation in this lettcds prepared.at your:tc,q~st and
        sole1y·for your reference and convenience. Y_ou shou!<lnot_tak~ rany llCti.o~ in.reliance
        on this .t'eport, ancl the officjal ad~pe alJ.d Statement of ac~()t]J1t issm:d h-1 \be Bank
        shell prevsilln an cases.                            .

           •,
        Yours faitbfully
        For and on hebalf af
        The.HangKoog and S~augbai Banking Corporation Limited,
        Plivate B~g Division




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                         Exhibit "C"

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        k         LIBERTY ASSET MANAGEMENT CORPORATION


                          ADDENDUM TO
     DISCLOSURE ACKNOWLEDGMENT AND COMMITMENT TO PURCHASE
              AND SELL REAL ESTATE ASSETS AGREEMENT




                                                  Between



                             Uberty Asset Management Corporation
                                           ("LAMC")



                                                     and



                                      Lee Walgreens 2013 LLC
                                                ("Investor")




                                              Effective
                                         September 9, 2013




     Proprietary and Confidential      Investor's Initials - - f l - . - 4 - - - - -   Page 1 of3




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           k          UBERTY ASSET MANAGEMENT CORPORATION
                                  ADDENDUM TO
     DISCLOSURE ACKNOWLEDGMENT AND COMMITMENT TO PURCHASE AND SELL REAL ESTATE
                                ASSETS AGREEMENT


    This Addendum to the Disclosure Acknowledgment and Commlbnent to Purchase and Sell Real Estate Assets Agreement
    ("Addendumn) Is made and entered Into as of 91h day of September 2013 {"Effective Date"), and Is hereby made part of
    and Incorporated Into that certain Disclosure Acknowledgment and Commlbnent to Purchase and Sell Real Estate Assets
    Agreement dated 23"' day of March 2013 ("Agreement") by and between Uberty Asset Management Corporation and its
    respective parent or subsidiary companies and affiliates, {"LAMC"), a Cllllfomla Corporation whose pnndpal place of
    business Is located at 3218 E. Holt Avenue, Suite 101, West Covina, CA 91791, and lee Walgreeos 2013 LlC (~Investor")
    whose name, phone number and address are Hsted below. LAMC and Investor acknowledge that the Agreement and this
    Addendum, along with any other addenda, shall together be referred to as the "Agreement."

                  Lee Wi!greens 2013 LLC ("INVESTOR''):

                  Name:       Shao Fano Hyang

                 Title:

                  Address: 1906 El Camino Real. Menlo Pari<. CA 94025

    WITNESSETH;

    WHEREAS,

           1.     LAMC and Investor entered Into an Agreement with an effedlve date of 9'1' day of September 2013; and
           2.     LAMC and Investor have agreed to modify the properties contained In Schedule ~r to the Agreement.

    NOW THEREfORe, the parties hereto hereby agree as follows:

      1.        EXtension of Closing Date

                1.1       Closing date to be extended from June 26, 2013 to June 26, 2014.

    lN WITNESS WHEREOF, each of the undersigned parties to this Agreement hu caused this Agreement to be duly
    executed    of Its duly author12ed officers or members, all as of the date first written above.


                                                                             INVESTOR
                                                                             Lee Walgreens 2013 LLC




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                                              SCHEDULE 1
                                          REAL ESTATE ASSETS

                                                    REAL PROPERTY

     Address                                 City               State    Zlll    Acquisition Value
                                                  San
             3931 Alemany Blvd                                      CA   94132    $5,900,000.00
                                               Francisco




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                   Exhibit "D"

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             i        LIBERTY ASSET MANAGEMENT CORPORATION.


                               ADDENDUM TO
          DISCLOSURE ACKNOWLEDGMENT AND COMMITMENT TO PURCHASE
                   AND SELL REAL ESTATE ASSETS AGREEMENT




                                                              Between



                                  Liberty Asset Management Corporation
                                                             ("LAMC")       .



                                                                  and


                                              Lee Walgreens 2013 LLC
                                                           ("Investor") .




                                                              Effective
                                                   September 9, 201.




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             i         LIBERTY ASSET MANAGEMENT CORPORATION
                                        ADDENDUM TO
              DISCLOSURE ACKNOWLEDGEMENT AND COMMITMENT TO PURCHASE AND SELL REAL
                                   ESTATE ASSETS AGREEMENT



         Tills Addendum to the Disclosure Acknowledgement and commlbnent to Purchase and Sell Real Estate Assets
         Agreement ("Addendum•) Is made and entered Into as of mh day of Seotember 2013. ("Efl'ed:.lve Date"), Is hereby
         made part of and Incorporated Into that certain Disclosure Acknowledgement and Commitment to Purchase and
         Sell Real Estate Assets Agreement dated l3ll1 day of Mml;h 2013. ("Agr~nt") by and between Uberty Asset
         Management Corporation and Its resPective parent or subsidiary companies and aftlllates, ("LAMC"), a cantornla
         Corporation whose principal place ot business Is located at 3218 E. Holt Avenue, Suite 101, West COVIna, CA 9179,
         and Lee Walgreen§ 2013 U.C ("Investor"} whose name, phone number and address are liSted below. LAMe and
         Investor acknowledge that the Agreement and this Addendum along with any other addenda, shall together be
         referred to as the "Agreement. R
                 ~Lemeii-'WilUiatU!al!-!reaaswD,s.S.a20z1~3~.,.LLb!o11<C,___ _ _ _ _ _ _ _ _ _ _ _   ("INVESTOR"):
                 Name: Shao Fang H!J!'!DQ
                 True: ~Ma~n~~~r~---~--~~~~~----------­
                 Address:1906 El Camino Rill!, Menlo park, CA 94025
         WITNESSETH:

         WHEREAS,

             1. LAMC and Investor entered Into an Agreement with an effective date of mh day of September 201.3.; and
             2. LAMe and Investor have agreed to modify the properties oontalned In Schedule "1" to the Agreement.
         NOW THEREFORE, the partJes hereto hereby agree as follows:

           1. EXTENSION OF ClOSING DATE

               1.1    Extena(gn ot Closing Data. The parties agree to extend the closing date stated In the Agreement
                      from June 26, 2014 to June 26, 2015.

        IN WITNESS WHEREOF, each of' the ooderslgned parties to this Agreement has caused this Agreement to be duly
        executed y one of Its duly authorized officers or members, all as of the date first written above.  ·
                                                                   JNVfiSTOR




        Proprietary and Confidential        Investor's Initials --.~"+-                                         Page 2of 3




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                                             SCHEDULE1
                                          REAL ESTATE ASSETS
                                             REAL PROPERTY
      Address              fCity               State           Zip           Acquisition Value
        3931 Alemariy Blvd     San Franslsco           CA            94132     5,900,000.00




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.•,                       Exhibit "E"

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         UBERTY ASSET MANAGEMENT CORPORATION

      CANCELLAnON OF DISCLOSURE ACKNOWLEDGMENT AND
     COMMITMENT TO PURCHASE AND SELL REAL ESTATE ASSETS
                              AGREEMENT
                        AND RELEASE OF DEPOSIT




                                Between




                                  and


                        Lee Walgreens 2013 LLC
                              ("Investor)




                                Effective
                             March :Z6, 2015




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                     UBERTY ASSET MANAGEMENT CORPORATION
  CANCELLAnON OF DISCLOSURE ACKNOWLEDGMENT AND COMMITMENT TO PURCHASE AND
                                           SELL REAL ESTATE ASSETS AGREEMENT
                                                 AND REt.EASE OF DEPOSIT


  This Cllm:ellatlon of DlK!osure Acknowledgment and commitment to Purchase and SeU Real Estate AsRts Agreement and
  Release of Deposit ("Canc:ellfltlon") Is made and entered Into as of~ day of March 2015 ("Effectfve Date"), by and
  between !.lberty A&set Management Corporation and its respective I'R!tent or subsidiary companies and affllllltes, ("LAMC"),
  a Cllllfomia Cof'I>O!'IItion whose principal place of businsss Js located et 3218 E. Holt Avenue #101, West Col/Ina, CA 91791,
  and Lee Walgreens lOll llC ("'nvutor"} whose name, phane number and address are listed below
                LMWIIJr.MM 2013 u.c (•INVESTOR"):
                Name: 5bJ:Ig fang Huang
                ~::ess:   rr::non       Avenyg. Atherton. CA 94Q27




         1.     l.AMC and InW!Stor entered Into the OlK!osure Acknowledgment and Commitment to Purchase and SeU Real
                Estate Assets Agreement with a.n efl\l!ctlve date of 23.rd day of March 2013 ("Agreement;'1;
         2.     LA!>1C and Investor entered into .the Addendum to Olscl01ure Acknowledgment and Commitment to Purdlase and
                Sell Real Estate Assets Agreement with an effective dete of gtlt day of September 2013 ("A§reement");
         3.     LA!>1C and InW!Itor ~cknowledge that the Agreement and any other addenda, amendments and relllted
                documents shall together be referred to 11s the "Aflrearnent");
         4.     l.AMC and Investor sgree that the Agreement on the property{ies) contained In Schedule "1.. to the Agreement Is
                canC!i!lled and termlnetli!d at the request of lnvestor.

 NOW THEREFORE, the parties hereto hereby agree as follows:

    1.        CANCELLATION OF AGREEMENT

              1.1   Ciangllatlpn gf Aaaemcmt:. LAMC and Investor agree that the Agreement is herebY cantelled and
                    terminated at the request of Investor.

    2.        RELEASE OF DIPOS1T

              2.1   l.AMC and lnvestor hereby acknowledge that Investor's deposit In connection wlth the Agreement shall be
                    fully refunded to Investor on or before May 31, 2015.

              2.2   Tne Investor's dl!poslt sh11il be mailed to:

                    2.2 .2    1.M Walqr!wls 21JU ll.C
                              1261\tlJertQn Am!m.le
                              Atherton. CA !i!4()27

              2.3   1tWestar shall return to LAM.C the ;mached N:knowledgment of ~lpt of DepO!'>it within 2 {two) business
                    days ot receipt of the deposit. ~Uure to retum th.e Acknowledgement of Receipt of DepO!ilt will void this
                    Ca n<:ellatlon.


   3.         MU'NAL RELUSE
              :u    Investor ami LAMC mutuaUy release eadl other from all obligation to buy, sell or exchange the prcperty{ies)
                    contained in SchedUle •t• to the Agreement, and from all dalrns, actions, and demands thet each may have
                    against the other(s] by reason of the Agreement.




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         3.2    Investor and LAMC int~:Ad that aU rlghts and obligations arising out of the Agreement are null and void upon
                LAMe's receipt o.flnvestor's Acknowledgement of Reeelpt of Deposit.
  IN WITNESS WHEREOF, each of the undersigned parties to this Agreement has caused this Agreement to be duty
  executed bV one of Its oury authorlud officers or members, all as ot the date first written above.

                                                                   mvums
                                                                    Lee Walgreem 2013 !-LC




                                      312612015
  Asset Manager                        Date




  Proprietary and Coni'ident!ar           Investor's lnltla IS                                                Page 3 of 4




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                                           SCHEDULE 1
                                        RiAL ESTATE ASSETS


   Add rea                                                            on Value

   3931 Alemany Blvd./                                           $5,900,000.00




  Proprietary and Confidential    Investor's initials                 Page4 of4




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF SHAO FANG HUANG IN
SUPPORT OF THE COMMITTEE’S MOTION FOR SUMMARY ADJUDICATION OF DEFENDANTS’ LIABILITY FOR
BREACH OF FIDUCIARY DUTIES AND ACCOUNTING will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 3, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Alexandre I Cornelius aicornelius@costell-law.com, ssaad@costell-law.com;mharris@costell-
        law.com;jstambaugh@costell-law.com;ladelson@costell-law.com;jlcostell@costell-law.com
       William Crockett wec@weclaw.com, ksa@weclaw.com
       Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
       Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       James S Yan jsyan@msn.com

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
                                   , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 3, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

PERSONAL DELIVERY
Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 3, 2016                                 Myra Kulick                                 /s/ Myra Kulick
 Date                         Printed Name                                                    Signature

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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